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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

FTX TRADING LTD., et al., 1                          Case No. 22-11068 (JTD)

         Debtors.                                    (Jointly Administered)



                          CERTIFICATION OF SASCHA N. RAND

         I, Sascha N. Rand, pursuant to 28 U.S.C. § 1746, to the best of my knowledge and belief,

and after reasonable inquiry, hereby certify that:

         1.     I am a Partner in the firm of Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn

Emanuel”), and I am duly authorized to make this certification on behalf of Quinn Emanuel. Quinn

Emanuel was retained by FTX Trading Ltd. and its affiliated debtors and debtors-in-possession in

the above-captioned cases (collectively the “Debtors”). This certification is made in support of

the Final Fee Application of Quinn Emanuel Urquhart & Sullivan, LLP for Services Rendered and

Reimbursement of Expenses for the Period from November 13, 2022 Through and Including

October 8, 2024 (the “Application”) and in compliance with Rule 2016-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (“Local Rule 2016-2”), and with the Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
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Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), 28 C.F.R. pt. 58, app. A (1996).

       2.      To that end, the following is provided in response to the request for additional

information set forth in ¶ C.5 of the U.S. Trustee Guidelines:

               Question: Did you agree to any variations from, or alternatives to, your standard
               or customary billing rates, fees or terms for services pertaining to this engagement
               that were provided during the application period? If so, please explain.

               Response: Yes. Quinn Emanuel agreed to provide a 10% discount to its standard
               billing rates for this engagement, which standard rates are not different from (a) the
               rates that Quinn Emanuel charges for most other non-bankruptcy representations or
               (b) the rates of other comparably skilled professionals.

               Question: If the fees sought in this fee application as compared to the fees
               budgeted for the time period covered by this fee application are higher by 10% or
               more, did you discuss the reasons for the variation with the client?

               Response: N/A

               Question: Have any of the professionals included in this fee application varied
               their hourly rate based on the geographic location of the bankruptcy case?

               Response: No. The hourly rates used by Quinn Emanuel are consistent with the
               rates that Quinn Emanuel charges other comparable chapter 11 clients, regardless
               of the location of the chapter 11 case.

               Question: Does the fee application include time or fees related to reviewing or
               revising time records or preparing, reviewing, or revising invoices? (This is limited
               to work involved in preparing and editing billing records that would not be
               compensable outside of bankruptcy and does not include reasonable fees for
               preparing a fee application.) If so, please quantify by hours and fees.

               Response: In connection with preparing its Monthly Fee Applications, Quinn
               Emanuel reviews and revises time records and/or prepares, reviews, and revises
               invoices. The amount of time spent and description of these services are detailed
               in Exhibit A to each of the Monthly Fee Applications and the amount of hours and
               fees associated therewith are quantified in Exhibit F to each of the Interim Fee
               Applications.

               Question: Does this fee application include time or fees for reviewing time records
               to redact any privileged or other confidential information? If so, please quantify by
               hours and fees.




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              Response: In connection with preparing its Monthly Fee Applications, Quinn
              Emanuel reviews for privileged or other confidential information. The amount of
              time spent and description of these services are detailed in Exhibit A to each of the
              Monthly Fee Applications and the amount of hours and fees associated therewith
              are quantified in Exhibit F to each of the Interim Fee Applications.

              Question: If the fee application includes any rate increases since retention: (i) Did
              the client review and approve those rate increases in advance? (ii) Did the client
              agree when retaining Quinn Emanuel to accept all future rate increases? If not, did
              Quinn Emanuel inform the client that they need not agree to modified rates or terms
              in order to have you continue the representation, consistent with ABA Formal
              Ethics Opinion 11-458?

              Response: The Application includes increases since retention, specifically as of
              September 1, 2023 and as of September 1, 2024. The Debtors reviewed and
              approved those rate increases in advance of being billed for them. With respect to
              question (ii), the Debtors were informed when they retained Quinn Emanuel that
              the firm may increase its rates from time to time, including on each September 1.

       3.     I have read the Final Fee Application and I certify that the Final Fee Application

substantially complies with Local Rule 2016-2 and the U.S. Trustee Guidelines.



Dated: New York, New York
       January 10, 2025


                                            /s/ Sascha N. Rand
                                            Sascha N. Rand
                                            Partner, Quinn Emanuel Urquhart & Sullivan, LLP




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